                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                             CEDAR RAPIDS DIVISION

    UNITED STATES OF AMERICA,

                  Plaintiff,                             No. 24-MJ-233-KEM

    vs.                                               ORDER OF DETENTION

    ANTHONY SALOME,

                  Defendant.
                                 ________________________

          At Defendant’s initial appearance hearing, the United States orally moved to detain
Defendant pending trial (Doc. 5). Doc. 4. Defendant waived hearings orally on the
record and by filing a written waiver of hearings. Docs. 5-6.
          Based on Defendant’s waiver, the court GRANTS the Government’s oral motion
for detention (Doc. 5) and orders Defendant be detained pending trial or further order of
the court.1
          SO ORDERED on November 15, 2024.




1
 Defendant is remanded to the custody of the Attorney General or to the Attorney General’s
designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal.
Defendant must be afforded a reasonable opportunity for private consultation with defense
counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility must deliver Defendant to a United
States Marshal for the purpose of an appearance in connection with a court proceeding.
          Case 1:24-mj-00233-KEM        Document 9      Filed 11/15/24     Page 1 of 1
